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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:18-CR-00165-TLN
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           FINDINGS AND ORDER
14   CANDICE FREITAS,                                    DATE: December 5, 2019
                                                         TIME: 9:30 a.m.
15                                                       COURT: Hon. Troy L. Nunley
                                  Defendant.
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18                                             STIPULATION

19          1.      By previous order, this matter was set for a trial confirmation hearing on December 5,

20 2019, and a trial on January 13, 2020. ECF 32.

21          2.      By this stipulation, the defendant, Candice Freitas, now moves to continue the trial

22 confirmation hearing to March 12, 2020, at 9:30 a.m., and the jury trial to April 20, 2020, at 9:00 a.m.,

23 and to exclude time between December 5, 2019, and April 20, 2020, under Local Code T4.

24          3.      The parties agree and stipulate, and request that the Court find the following:

25                  a)     The government has represented that the discovery associated with this case

26          includes investigative reports, subpoena returns, financial records, bank statements, and related

27          documents in electronic form, including over 2,000 pages of documents and dozens of videos

28          and photos. Discovery also includes physical evidence including access cards, checks, IDs,


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 1         passports, and counterfeit U.S. Postal Service keys. All of this discovery has been either

 2         produced directly to counsel and/or made available for inspection and copying.

 3                b)      Counsel for defendant desires additional time to review and analyze the

 4         discovery, consult with his client, conduct additional investigation and research related to the

 5         charges, discuss potential resolutions with his/her client, and to otherwise prepare for trial.

 6                c)      Counsel for defendant believes that failure to grant the above-requested

 7         continuance would deny him and the defendant the reasonable time necessary for effective

 8         preparation, taking into account the exercise of due diligence.

 9                d)      The government does not object to the continuance.

10                e)      Based on the above-stated findings, the ends of justice served by continuing the

11         case as requested outweigh the interest of the public and the defendant in a trial within the

12         original date prescribed by the Speedy Trial Act.

13                f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

14         et seq., within which trial must commence, the time period of December 5, 2019, to April 20,

15         2020, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

16         T4] because it results from a continuance granted by the Court at defendant’s request on the basis

17         of the Court’s finding that the ends of justice served by taking such action outweigh the best

18         interest of the public and the defendant in a speedy trial.

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      STIPULATION REGARDING EXCLUDABLE TIME              2
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 1          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

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     Dated: September 24, 2019                                MCGREGOR W. SCOTT
 6                                                            United States Attorney
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                                                              /s/ ROBERT J. ARTUZ
 8                                                            ROBERT J. ARTUZ
                                                              Special Assistant U.S. Attorney
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     Dated: September 24, 2019                                /s/ WILLIAM BONHAM (with permission)
11                                                            WILLIAM BONHAM
12                                                            Counsel for Defendant
                                                              Candice Freitas
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16                                          FINDINGS AND ORDER

17          IT IS SO FOUND AND ORDERED this 24th day of September, 2019.

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21                                                              Troy L. Nunley
                                                                United States District Judge
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      STIPULATION REGARDING EXCLUDABLE TIME               3
      PERIODS UNDER SPEEDY TRIAL ACT
